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     Federal Defender
 2   JEROME PRICE, SBN # 282400
     Assistant Federal Defender
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 4   Sacramento, CA 95814
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 6   Attorneys for Defendant
     NA YOUNG EOH
 7
                                 IN THE UNITED STATES DISTRICT COURT
 8
                              FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
      UNITED STATES OF AMERICA,                    )   Case No. 1:15-cr-00179-LJO-SKO
11                                                 )
                         Plaintiff,                )   STIPULATION AND ORDER TO VACATE
12                                                 )   THE STATUS CONFERENCE
      vs.                                          )
13                                                 )
      BAHAR GHARIB-DANESH et al.,                  )   Date: November 7, 2016
14                                                 )   Time: 1:00 p.m.
                        Defendant.                 )   Judge: Hon. Sheila K. Oberto
15                                                 )
                                                   )
16
17           IT IS HEREBY STIPULATED by and between Phillip A. Talbert, Acting U.S. Attorney,
18   through Mark J. McKeon, Assistant United States Attorney, attorney for Plaintiff, and the
19   defendants in the above action, Bahar Gharib-Danesh through her attorney Jerry B. Marshak;
20   John Thomas Terrence through his attorney Leodis Clyde Matthews, and Na Young Eoh through
21   her attorney, Assistant Federal Defender Jerome Price, that the status conference scheduled for
22   November 7, 2016 may be vacated.
23           At the status conference on August 15, 2016, the parties set a jury trial date for August
24   15, 2017. The Court set a further status conference for November 7, 2016, but indicated that if
25   the parties felt that a status conference was unnecessary, the parties could move to vacate the
26   status conference. At this time, the parties do not believe the status conference is necessary and
27   hereby stipulate that it may be vacated. Time has previously been excluded under the Speedy
28

      Stipulation and Order to Vacate the Status        -1-
      Conference                                               U.S. v. Gharib-Danesh et al, 15-cr-179-LJO-SKO
     Case 1:15-cr-00179-LJO-SKO Document 48 Filed 11/04/16 Page 2 of 3


 1   Trial Act until the trial date, August 15, 2017.

 2
                                                    Respectfully submitted,
 3
                                                    HEATHER E. WILLIAMS
 4                                                  Federal Defender

 5
     Date: November 2, 2016                         /s/ Jerome Price
 6                                                  JEROME PRICE
                                                    Assistant Federal Defender
 7                                                  Attorneys for Defendant
                                                    NA YOUNG EOH
 8
     Date: November 2, 2016                         /s/ Jerry B. Marshak
 9                                                  JERRY B. MARSHAK
                                                    Attorney for Defendant
10                                                  BAHAR GHARIB-DANESH

11   Date: November 2, 2016                         /s/ Leodis Clyde Matthews
                                                    LEODIS CLYDE MATTHEWS
12                                                  Attorney for Defendant
                                                    JOHN THOMAS TERRENCE
13
     Date: November 2, 2016                         PHILLIP A. TALBERT
14                                                  Acting United States Attorney
15
                                                    Mark J. McKeon
16                                                  MARK J. MCKEON
                                                    Assistant U.S. Attorney
17                                                  Attorney for Plaintiff
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      Stipulation and Order to Vacate the Status        -2-
      Conference                                              U.S. v. Gharib-Danesh et al, 15-cr-179-LJO-SKO
     Case 1:15-cr-00179-LJO-SKO Document 48 Filed 11/04/16 Page 3 of 3


 1                                                 ORDER

 2            Pursuant to the parties’ Stipulation, the November 7, 2016 status conference is hereby

 3   vacated.

 4
 5   IT IS SO ORDERED.

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     Dated:     November 4, 2016                                  /s/   Sheila K. Oberto                .
 7                                                      UNITED STATES MAGISTRATE JUDGE
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      Stipulation and Order to Vacate the Status     -3-
      Conference                                             U.S. v. Gharib-Danesh et al, 15-cr-179-LJO-SKO
